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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                                )
 UNITED STATES OF AMERICA,                      )
                                                )
 v.                                             )      Criminal Case No. 22-cr-00007-LKG
                                                )
 MARILYN J. MOSBY,                              )      Dated: December 12, 2024
                                                )
        Defendant.                              )
                                                )

                                               ORDER
       On December 10, 2024, the Defendant, Marilyn J. Mosby, filed a motion for permission
to travel, seeking the Court’s permission to travel to Levelland, Texas between December 15,
2024, and December 18, 2024, for employment purposes. ECF No. 589. Specifically, the
Defendant states that the requested travel is necessary so that she may tour a facility that her
company is considering acquiring and participate in local meetings in furtherance of this
potential acquisition. Id. at 3. On December 11, 2024, the Defendant provided the Court and the
United States Probation Office for this District with a daily schedule for her proposed travel.
The United States Probation Office takes no position on the Defendant’s motion.

       In light of the foregoing, the Court:

       (1) GRANTS the Defendant’s motion for permission to travel (ECF No. 589);

       (2) MODIFIES the Defendant’s conditions of supervised release to permit her to travel
           to Levelland, Texas between December 15, 2024, and December 18, 2024. Under
           the location monitoring condition of home detention, the Defendant shall adhere to
           the daily schedule provided to the Court and the United States Probation Office on
           December 11, 2024, and not to exceed a daily return time of 9:00 p.m. local time to
           her hotel room;

       (3) DIRECTS the Defendant to provide her flight and hotel information to her Probation
           Officer on or before December 13, 2024, at 5:00 p.m.
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(4) All other conditions of supervision shall remain in effect.



IT IS SO ORDERED.


                                           s/ Lydia Kay Griggsby
                                           LYDIA KAY GRIGGSBY
                                           United States District Judge




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